           Case 1:18-cv-01091-RP Document 69 Filed 03/21/19 Page 1 of 1



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

BAHIA AMAWI,                                          §
                                                      §
                Plaintiff,                            §
                                                      §
v.                                                    §                     1:18-CV-1091-RP
                                                      §
PFLUGERVILLE INDEPENDENT                              §
SCHOOL DISTRICT, et al.,                              §                     Consolidated with:
                                                      §                     1:18-CV-1100-RP
                Defendants.                           §

                                                 ORDER

        Before the Court is a motion to continue by Defendants Trustees of the Klein Independent

School District and Trustees of the Lewisville Independent School District (“Defendants”). (Dkt.

65). Defendants request that the hearing in this matter set for March 29, 2019, be extended to May

28, 2019. (Id. at 4). Plaintiffs indicate that they are opposed to this relief and intend to file a

response. (Id. at 7). Because the hearing in this matter is set to occur in eight days, the Court finds

that expedited briefing on the instant motion is appropriate.

        Accordingly, it is ORDERED that Plaintiffs’ response, if any, to the motion to continue the

hearing, (Dkt. 65), is due on or before March 24, 2019, at 11:59 p.m. CDT. Defendants’ reply, if

any, is due on or before March 26, 2019, at 12:00 p.m. CDT, but the Court need not wait for a

reply before ruling on the motion. W. D. Tex. Loc. R. CV-7(f)(2).

        SIGNED on March 21, 2019.

                                                 _____________________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE
